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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


                                                    :   Case No. 08-14631 (GMB)
  In re:                                            :   (Jointly Administered)
                                                    :
  Shapes/Arch Holdings L.L.C., et al.               :   Chapter 11
                                                    :
                           Debtors.                 :
                                                    :

                                 CERTIFICATE OF SERVICE


           I, Diane E. Vuocolo, Esquire, an attorney with the law firm of Greenberg Traurig,

  LLP, hereby certify that copies of the following pleading have been served upon all

  interested parties listed on the attached Service List via first class mail, postage pre-paid,

  on April 23, 2008:



           1.        Application For The Admission Of Joseph P. Davis, Esquire To Be
                     Admitted Pro Hac Vice As Counsel To Arch Acquisition I, LLC;

           2.        Certification Of Diane E. Vuocolo In Support Of Application For The
                     Admission Of Joseph P. Davis, Esquire To This Court Pro Hac Vice
                     As Counsel To Arch Acquisition I, LLC Pursuant To District Court
                     Rule 101.1(c) And D.N.J. LBR 2090-1;



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          3.         Affidavit Of Joseph P. Davis In Support Of Application For Pro Hac
                     Vice Admission As Counsel To Arch Acquisition I, LLC;

          4.         proposed form of Order; and

          5.         Certificate of Service


  Dated: April 23, 2008
                                                GREENBERG TRAURIG, LLP
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                                                By:     /s/ Diane E. Vuocolo
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                            SHAPES/ARCH HOLDINGS L.L.C.
                     BKY. CASE NO. 08-14631-GMB (Jointly Administered)
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